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   1 A.J. de Bartolomeo (SBN 136502)
     TADLER LAW LLP
   2 P.O. Box 475847
     San Francisco, CA 94147-5847
   3
     Telephone: (415) 226-0260
   4 Email: ajd@tadlerlaw.com

   5 Richard M. Nichols (SBN 166638)
     876 Arlene Way
   6 Novato, CA 94530

   7 Telephone: (415) 314-0066
     Email: Rnicholspc@gmail.com
   8
     Attorneys for Class Member
   9 HOPE AMELIA SOLO STEVENS
     [Additional Counsel on last page]
  10
                                  UNITED STATES DISTRICT COURT
  11
                                CENTRAL DISTRICT OF CALIFORNIA
  12
                                               Case No. 2:19-CV-01717 RGK-AGR
  13

  14                                          Assigned to Hon. R. Gary Klausner

  15   ALEX MORGAN, et al.,                   CLASS MEMBER AND OBJECTOR
                                              HOPE SOLO’S EX PARTE
  16               Plaintiffs,                APPLICATION TO REQUEST A BRIEF
                                              CONTINUANCE OF THE DECEMBER
  17         v.                               12, 2022 FINAL APPROVAL HEARING
                                              TO A DATE ON OR AFTER
  18   UNITED STATES SOCCER                   DECEMBER 15, 2022
       FEDERATION, INC.,
  19
                                              [Filed concurrently with: Notice to Counsel
                   Defendant.                 of Class Member and Objector Hope Solo’s
  20
                                              Ex Parte Application; Memorandum in
  21                                          Support of Ex Parte Application; Declaration
                                              of Class Member and Objector’s Counsel
  22
                                              A.J. de Bartolomeo; and [Proposed] Order re
  23                                          Ex Parte Application to Request a Brief
                                              Continuance of Final Approval Hearing]
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         CLASS MEMBER AND OBJECTOR HOPE SOLO’S EX PARTE APPLICATION TO REQUEST A BRIEF
                       CONTINUANCE OF THE FINAL APPROVAL HEARING DATE
                                CASE NO. 2:19-CV-01717 RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 330 Filed 10/18/22 Page 2 of 3 Page ID #:11189




   1          Class Member Hope Amelia Solo Stevens (“Class Member and Objector Solo” or “Solo”)

   2 hereby applies ex parte to the Court for an Order Approving Ex Parte Application to Request a

   3 Brief Continuance of December 12, 2022 Final Approval Hearing to A Date On Or After December

   4 15, 2022.

   5          On Monday, October 17, 2022, at approximately 10:20 a.m. PT, Counsel for Class Member

   6 and Objector Solo, A. J. de Bartolomeo, contacted counsel of record for the Class and for Defendant

   7 USSF via e-mail to notify them both of Class Member and Objector Solo’s intention to file the Ex

   8 Parte Application.

   9          Class Counsel stated they would oppose the Ex Parte Application. At the time of this filing,
  10 Defense Counsel has not yet responded to the request. As there will be an opposition to the Ex

  11 Parte Application, opposing papers must be filed not later than 3:00 p.m. on October 19, 2022,

  12 which is the first business day following service.

  13          This application is made on the grounds set forth in the accompanying Memorandum in
  14 Support of Ex Parte Application to Request a Brief Continuance of the December 12, 2022 Final

  15 Approval Hearing To A Date On Or After December 15, 2022; all pleadings and papers filed in this

  16 action; and Declaration Of Class Member And Objector’s Counsel A.J. de Bartolomeo In Support

  17 Of Class Member Solo’s Ex Parte Application To Request A Brief Continuance of the December

  18 12, 2022 Final Approval Hearing To A Date On Or After December 15, 2022.

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  20
              DATED: October 18, 2022                          Respectfully submitted,
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                                                    By: /s/ A.J. de Bartolomeo
  23

  24                                                          A.J. de Bartolomeo (SBN 136502)
                                                              TADLER LAW LLP
  25                                                          P.O. Box 475847
                                                              San Francisco, CA 94147-5847
  26                                                          Telephone: (415) 226-0260
                                                              Email: ajd@tadlerlaw.com
  27

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          CLASS MEMBER AND OBJECTOR HOPE SOLO’S EX PARTE APPLICATION TO REQUEST A BRIEF
                        CONTINUANCE OF THE FINAL APPROVAL HEARING DATE
                                 CASE NO. 2:19-CV-01717 RGK-AGR
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   1                                                          Richard M. Nichols (SBN 166638)
                                                              Attorney at Law
   2                                                          876 Arlene Way
                                                              Novato, CA 94530
   3
                                                              Telephone: (415) 314-0066
   4                                                          Email: rnicholspc@gmail.com

   5                                                          Timothy W. Moppin (SBN 133363)
                                                              Attorney at Law
   6                                                          2015 Junction Avenue
                                                              El Cerrito, CA 94530
   7
                                                              Telephone: (510) 232-0442
   8                                                          Email: timmoppin@yahoo.com
                                                                timmoppin@aol.com
   9
                                                              Paul K. Stafford (pro hac vice pending)
  10                                                          STAFFORD MOORE, PLLC
  11                                                          325 N. St. Paul St., Suite 2210
                                                              Dallas, TX 75201
  12                                                          Telephone (Main): (214) 764-1529
                                                              Telephone (Direct): (214) 764-1531
  13                                                          Facsimile:           (214) 580-8104
                                                              Email: paul@staffordmoore.law
  14

  15                                                          Attorneys for Class Member and Objector
  16                                                          Hope Amelia Solo Stevens

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  20                                     SIGNATURE ATTESTATION
  21          Pursuant to Local Rule 5-1, I certify that all other signatories listed, on whose behalf the filing
  22 is submitted, concur in the filing’s content and have authorized the filing.

  23
        DATED: October 18, 2022                        By: /s/ A.J. de Bartolomeo
  24                                                         A.J. de Bartolomeo
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           CLASS MEMBER AND OBJECTOR HOPE SOLO’S EX PARTE APPLICATION TO REQUEST A BRIEF
                         CONTINUANCE OF THE FINAL APPROVAL HEARING DATE
                                  CASE NO. 2:19-CV-01717 RGK-AGR
